              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:16-cv-00266-MR
           [CRIMINAL CASE NO. 1:06-cr-00043-MR-DLH-4]


KIMBERLY DAWN PALMER,            )
                                 )
              Petitioner,        )
                                 )             MEMORANDUM OF
vs.                              )             DECISION AND ORDER
                                 )
UNITED STATES OF AMERICA,        )
                                 )
              Respondent.        )
________________________________ )

     THIS MATTER is before the Court on Petitioner’s Motion under 28,

United States Code, Section 2255 to Vacate, Set Aside, or Correct Sentence

by a Person in Federal Custody [Doc. 1]. For the reasons that follow, the

Court dismisses the petition.

                         PROCEDURAL HISTORY

     On December 22, 2014, Petitioner was convicted in this Court,

following a guilty plea, of conspiracy to manufacture and possess with intent

to distribute methamphetamine, in violation of 21 U.S.C. §§ 841 and 846.

[Crim. Case No. 1:06-cr-00043-MR-DLH-4 (“CR”), Doc. 182: Judgment].

     In preparation for Petitioner’s sentencing hearing, the probation office

prepared a presentence investigation report (“PSR”), calculating a total



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offense level of 36, and a criminal history category of II, yielding an advisory

sentencing guidelines range of 210 to 262 months of imprisonment. [CR

Doc. 179 at ¶ 61: PSR]. The PSR further noted that Petitioner faced a

statutory mandatory minimum term of 10 years and a maximum term of life

imprisonment under 21 U.S.C. §§ 841(b)(1)(A). [Id. at 60]. On December

16, 2014, this Court sentenced Petitioner to 168 months’ imprisonment. [CR

Doc. 182]. Judgment was entered on December 22, 2014. [Id.]. Petitioner

did not appeal.

      Petitioner placed the instant petition in the prison mailing system on

July 28, 2016, and it was stamp-filed in this Court on August 1, 2016. [Doc.

1]. As the sole claim in the Section 2255 petition, Petitioner contends that

Amendment 794 to U.S.S.G. § 3B1.2 makes her eligible for a minor role

adjustment to her sentence. [Id. at 4]. Petitioner cites to a recent case from

the Ninth Circuit Court of Appeals, United States v. Quintero-Leyva, 823 F.3d

519 (9th Cir. 2016), in which the Ninth Circuit, on a direct appeal from a

conviction, held that Amendment 794 set out new guidelines for the

determination of whether a defendant should be granted a minor role

reduction and determined that Amendment 794 applied retroactively on

direct appeals.




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                           STANDARD OF REVIEW

      Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions to

vacate, along with “any attached exhibits and the record of prior proceedings”

in order to determine whether a petitioner is entitled to any relief. After

having considered the record in this matter, the Court finds that no response

is necessary from the United States. Further, the Court finds that this matter

can be resolved without an evidentiary hearing. See Raines v. United States,

423 F.2d 526, 529 (4th Cir. 1970).

                                  DISCUSSION

      Petitioner is not entitled to relief under Section 2255.           Petitioner

purports to raise a substantive claim for sentencing relief under 18 U.S.C. §

3852, based on a retroactive amendment to the sentencing guidelines.

Petitioner must seek such relief on this claim, if at all, by filing a motion in her

criminal case. See United States v. Jones, 143 F. App’x 526, 527 (4th Cir.

2005) (holding that the district court erred in construing the petitioners’

motions under 18 U.S.C. § 3582(c)(2) for reductions in sentence based on

retroactive application of Amendment 591 as Section 2255 motions); Ono v.

Pontesso, No. 98-15124, 1998 WL 757068, at *1 (9th Cir. Oct. 26, 1998)

(noting that a request for a modification of a sentence pursuant to an


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Amendment to the Sentencing Guidelines “is most properly brought as a

motion under 18 U.S.C. § 3582”); see also United States v. Mines, No. 3:09-

cr-106-HEH, 2015 WL 1349648, at *1 (E.D. Va. Mar. 4, 2015) (stating that,

to the extent that the petitioner “seeks a reduction in sentence pursuant to

any amendment to the United States Sentencing Guidelines, he must file a

separate motion for reduction of sentence pursuant to 18 U.S.C. § 3582”).

Thus, the Court will dismiss this action without prejudice to Petitioner to bring

a motion for reduction of sentence in her underlying criminal action.

                                CONCLUSION

      For the reasons stated herein, the Court will dismiss the Section 2255

petition without prejudice to Petitioner to file a motion for a sentence

reduction in her criminal action.

      The Court finds that the Petitioner has not made a substantial showing

of a denial of a constitutional right. See generally 28 U.S.C. § 2253(c)(2);

see also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy

§ 2253(c), a “petitioner must demonstrate that reasonable jurists would find

the district court’s assessment of the constitutional claims debatable or

wrong”) (citing Slack v. McDaniel, 529 U.S. 473, 484-85 (2000)). Petitioner

has failed to demonstrate both that this Court’s dispositive procedural rulings

are debatable, and that his Motion to Vacate states a debatable claim of the


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denial of a constitutional right. Slack v. McDaniel, 529 U.S. 473, 484-85

(2000). As a result, the Court declines to issue a certificate of appealability.

See Rule 11(a), Rules Governing Section 2255 Proceedings for the United

States District Courts, 28 U.S.C. § 2255.

                                  ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate

[Doc. 1] is DISMISSED WITHOUT PREJUDICE.

      IT IS FURTHER ORDERED that the Court declines to issue a

certificate of appealability.

      IT IS SO ORDERED.          Signed: August 22, 2016




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